                 Case 3:23-cv-05364-RJB Document 52 Filed 05/26/23 Page 1 of 6




 1                                                                 HONORABLE ROBERT J. BRYAN

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 5
                            IN THE UNITED STATES DISTRICT COURT
 6                        FOR THE WESTERN DISTRICT OF WASHINGTON

 7    LAWRENCE HARTFORD, et al.,
                                                           No. 3:23-cv-05364-RJB
 8                                      Plaintiffs,
                                                           DECLARATION OF ZACHARY J.
 9           v.                                            PEKELIS IN SUPPORT OF
                                                           ALLIANCE FOR GUN
10    BOB FERGUSON, et al.                                 RESPONSIBILITY’S REPLY IN
                                                           SUPPORT OF MOTION TO
11                                    Defendants.          INTERVENE AS DEFENDANT

12                                                         NOTE ON MOTION CALENDAR:
                                                           MAY 26, 2023
13

14          1.       I am a partner at Pacifica Law Group LLP, and represent Proposed Intervenor-

15   Defendant Alliance for Gun Responsibility (the Alliance) in this matter. I am over the age of 18,

16   competent to testify, and make this declaration based on my personal knowledge.

17          2.       I also represent (or represented) the Alliance or its political committee in the

18   following matters in which it successfully intervened as a defendant to defend Washington gun

19   safety laws: Banta v. Ferguson, No. 2:23-CV-00112-MKD (E.D. Wash. May 19, 2023); Brumback

20   v. Ferguson, No. 1:22-cv-03093-MKD (E.D. Wash.); Sullivan v. Ferguson, No. 3:22-cv-05403-

21   DGE (W.D. Wash.); Mitchell v. Atkins, No. 3:19-cv-05106 (W.D. Wash.); Slone v. State, No. 20-

22   2-07296-1 (Pierce Cnty. Super. Ct.). In addition, I represent the Alliance’s sister organization, the

23   Oregon Alliance for Gun Safety (the Oregon Alliance), in cases in which the Oregon Alliance has

24   PEKELIS DECL. ISO ALLIANCE FOR GUN
     RESPONSIBILITY’S REPLY ISO MOTION TO
     INTERVENE AS DEFENDANT - 1
25   Case No. 3:23-cv-05364-RJB
                                                                                  PACIFICA LAW GROUP LLP
                                                                                       1191 SECOND AVENUE
                                                                                             SUITE 2000
                                                                                 SEATTLE, WASHINGTON 98101-3404
                                                                                     TELEPHONE: (206) 245-1700
                                                                                     FACSIMILE: (206) 245-1750
                 Case 3:23-cv-05364-RJB Document 52 Filed 05/26/23 Page 2 of 6




 1   successfully intervened to defend an Oregon gun safety law: Oregon Firearms Fed’n, Inc. v.

 2   Kotek, No. 2:22-cv-01815-IM (D. Or.); Eyre v. Rosenblum, No. 3:22-cv-01862-IM (D. Or.).

 3          3.       Attached as Exhibit A is a true and correct copy of the court’s September 25,

 4   2020 order granting intervention to the Alliance’s political committee, Safe Schools Safe

 5   Communities, in Slone v. State (Pierce Cnty. Super Ct.).

 6                I declare under penalty of perjury that the foregoing is true and correct.

 7                EXECUTED this 26th day of May, 2023, at Seattle, Washington.

 8
                                                            s/ Zachary J. Pekelis
 9                                                          ZACHARY J. PEKELIS, WSBA #44557

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24   PEKELIS DECL. ISO ALLIANCE FOR GUN
     RESPONSIBILITY’S REPLY ISO MOTION TO
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25   Case No. 3:23-cv-05364-RJB
                                                                                    PACIFICA LAW GROUP LLP
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                                                                                              SUITE 2000
                                                                                  SEATTLE, WASHINGTON 98101-3404
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                                                                                      FACSIMILE: (206) 245-1750
              Case 3:23-cv-05364-RJB Document 52 Filed 05/26/23 Page 3 of 6




 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on this 26th day of May, 2023, I electronically filed the foregoing

 3   document with the Clerk of the United States District Court using the CM/ECF system which

 4   will send notification of such filing to all parties who are registered with the CM/ECF system.

 5          Dated this 26th day of May, 2023.

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24   PEKELIS DECL. ISO ALLIANCE FOR GUN
     RESPONSIBILITY’S REPLY ISO MOTION TO
     INTERVENE AS DEFENDANT - 3
25   Case No. 3:23-cv-05364-RJB
                                                                                 PACIFICA LAW GROUP LLP
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                                                                                            SUITE 2000
                                                                                SEATTLE, WASHINGTON 98101-3404
                                                                                    TELEPHONE: (206) 245-1700
                                                                                    FACSIMILE: (206) 245-1750
Case 3:23-cv-05364-RJB Document 52 Filed 05/26/23 Page 4 of 6




                      EXHIBIT A
                                 Case 3:23-cv-05364-RJB Document 52 Filed 05/26/23 Page 5 of 6


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 rl:y
 '••j
  rri       1                                                                             HONORABLE GRANT BLINN
 &                                                                                        Hearing Set: September 25, 2020
            2   20-2.07296-1      55082284    ORINT    09-26-20                                            Time: 9:00 AM
            3
                                                                                          "ILED
                                                                                           DEPT. 8
                                                                                     IN OPEN COURT
            4
                                                                                     SEP 2 5 2020
8fe'; -5    6
                                                                                 PIERCE C       'NTY, Clerk
lb                                                                                  By.
                                                                                          DE
            7
                                                   SUPERIOR COURT OF WASHINGTON"
            8                                     IN AND FOR THE COUNTY OF PIERCE
o
£:          9
                KERRY SLONE, a resident of the state of
           10   Washington, GUN OWNERS OF AMERICA,                           No. 20-2-07296-1
                INC., and GUN OWNERS FOUNDATION,
           11

           12                                              Plaintiffs,       SAFE SCHOOLS SAFE
                                                                             COMMUNITIES’ MOTION TO
           13              v.                                                INTERVENE AS A DEFENDANT
           14   STATE OF WASHINGTON,
           15
                                                         Defendant,                                                                  iD
                                                                                                                                     ►.




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                                                                                                                                     CD
           17
                THIS MATTER came before the Court on Safe Schools Safe Communities’ (the “Campaign’s”)                               r-o
           18                                                                                                                        Q
                Motion to Intervene as a Defendant (“Motion”). The Court has considered the papers and pleadings                     N
           19                                                                                                                        O

           20   filed herein, including the following:

           21                  1. The Campaign’s Motion;                                                                             OJ
                                                                                                                                     Do
           22                                                                                                                        Co
                           2. Declaration of Renee Hopkins in Support of the Motion, and exhibits thereto;                           f-
           23
                           3. Declaration of Nicholas W. Brown in Support of the Motion, and exhibits thereto;
           24
                           4. The Campaign’s Answer to Plaintiffs’ Complaint (Proposed);
           25
                               5. Plaintiffs’ Opposition and supporting declarations, if any;
           26                                                                                                                        O
                                                                                                                                     H
                           6. The Campaign’s Reply in Support of the Motion, if any;                                                 f-
           27
                                                                                                                                     W
                                                                                                      PACIFICA LAW GROUP LLP
                [PROPOSED] ORDER GRANTING SAFE SCHOOLS SAFE                                               1191 SECOND AVENUE
                                                                                                                SUITE 2000
                COMMUNITIES’ MOTION TO INTERVENE AS A                                                SEATTLE, WASHINGTON 981010404
                                                                                                        TELEPHONE: (206) 245.1700
                DEFENDANT - 1                                                                            FACSIMILE: (206)245.1750
                                 Case 3:23-cv-05364-RJB Document 52 Filed 05/26/23 Page 6 of 6

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4             1             1.
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              2             Based on the above, the Court ORDERS as follows:
              3
                            1. The Campaign’s Motion to Intervene as a Defendant is GRANTED.
              4

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                                         "7J
                                               -•h            c^kL-T
4                           Dated this           [ay of                 2020.
              6

K)            7

              $                                                                     HONORABLE GRANT BLINN

              9   Presented by:
A.I
O                       t
(M          10    Pacifica Law Group llp
\
Oi          11
                  By   s/ Gregory J. Wons                                   filed
                                                                             DEPT. 8
A]                     Gregory J. Wong, WSBA #39329
            12                                                            IN OPEN COURT
(?                     Nicholas W. Brown, WSBA #33586
            13         Kai A. Smith, WSBA #54749
                                                                          SEP 2 5 2020
            14    Attorneys for Intervenor-Defendant                                 tUNTY, Clerk
                                                                       PIERCE
                  Safe Schools Safe Communities
            15                                                            By.       LUT
                                                                                D
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                                                                                                PACIFICA LAW GROUP LLP
                  [PROPOSED] ORDER GRANTING SAFE SCHOOLS SAFE                                      1191 SECOND AVENUE
                                                                                                         SUITE 2000
                  COMMUNITIES’ MOTION TO INTERVENE AS A                                       SEATTLE. WASHINGTON 98101-3404
                                                                                                 TELEPHONE: (206) 245.1700
                  DEFENDANT-2                                                                     FACSIMILE: (206)245.1750
